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FOR THE NORTHERN DISTRICT OF TEXAS oisig1e7 cou

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2016 OCT 29

 
 

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Andre W. Williams Sr.
Plaintiff

$-16CV-2 43L

Vv.

 

Civil Action No.

Waste Management(+3 Individuals)
Defendant

COMPLAINT

Discrimination, Age,Disabiltiy,Retaliation, Constructive Labor Practices

 

May 27,2012 Began employment with Waste Management in Oklahoma City, Ok, @ $15 per hr in the residential Bulky Department. The
environment at work supported several incidents of Racial Discrimination. | experienced and heard the use of the "N" word. Descriptive words
were often used such as "monkeys","the bro's”,"anguses", "baboon", "jigaboos”,"the kuntas” in reference to African-Americans. Racial slurs
were also used towards Hispanics.

February 12, 2013 | applied online for a Route Manager position in Lewisville, TX . Due to the fact that there were no African-American
supervisors in Oklahoma Cityat the time of my employment, this posed a conflict with my job. | was denied the position.

February 27, 2013 | received a voicemail call from HR Recruiter Vinny Gumlich , inquiring if | was still interested in the Residential Drivers
Position in Lewisville, TX. | had applied for this position online.

March 28, 2013 Near this time | tranferred with Waste Management to Lewisville ,TX from Oklahoma City. The new position was a Roll Off
Driver and the pay stated would be a $1 per hr morethan my current position. Since | had completed my probationary period while assigned to
Oklahoma City that also allowed me an additional $1 per hour bringing my hourly pay rate to $17. The scheduled hours varied between
4:30am-8pm, 6pm-5am.

April 24, 2013 | contaced my current Supervisor in the Roll Off Department, Henry Short ( who is African- American),in my letter to Mr. Short, |
addressed the work hours of 6am-2pm and as we had discussed | mentioned the subject of driving an automatic transmission truck. Our
communication was through letters/notesdue to the difference of hours we both worked.

 

 

 

* Attach additional pages as needed.

Date 10/19/2016 -

Signature ( Wf 1 Ql he . — SK ~

Print Name Andre W. Williams Sr.

 

 

 

' Address 1702 Windsong Tri

 

City, State, Zip Richardson, TX 75081

 

Telephone 469-831-2859

 
 

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Andre w. Williams Sr. VS WASTE MANAGEMENT INC.
1702 Windsong Trail LOUIS RAMIREZ
Richardson, TX 75081 LANCE BUTLER
469-831-2859 MARK JOHNSON

UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF TEXAS

(FACTS FOR CLAIM CONTINUED)

May 22, 2013 | receive notification that | was chosen to return to Oklahoma City to assist in the
tornado disaster cleanup which occurred in Moore Oklahoma. | was informed | could be working
Oklahoma City for several weeks. My work assignment was as a roll off driver. While in Oklahoma

City my work hours returned back to working 6am completing my work day sometime between 2 pm
and 4pm

June 15, 2013 | returned back to Dallas Texas to resume my regular position as a roll off driver in
Lewisville, Texas

June 17, 2013 At this time | notify my immediate supervisor Henry short that while | was assisting in
Oklahoma City | had noticed a change in my health for the better and under requirement by the

Federal Department of Transportation | informed my supervisor of the comparison of the different
hours | work and how | was affected.

June 18, 2013 My supervisor Henry Short left me a voicemail informing me that he was sending me
to Concentra; the company doctor and medical facility as part of a DOT procedure and were also
going to discuss with me about going residential. During no conversation with my supervisor, Mr.
Short or the WM recruiter Vinny, was | informed that transferring to a residential driving positon,
would mean a reduction in pay. | was informed that because of my experience and all the equipment
that | could operate | would stay at my same Pay rate.

June 19, 2013 Mr. Short, my current supervisor, again responded in a voicemail, that he was checking
in on me since he had not heard back from me or the company doctor. | relayed to Mr. Short that t
was unable to meet with the company doctor as yet, due to the doctor requesting documentation
that would take me some time to get completed. Henry had confided in me that the reason he was
taking this precaution was due to the fact he was a black supervisor and was closely monitored and
scrutinized for certain matters when other white supervisors were not. He confided that he was
trying to assist me while he could because it was questionable whether he would remain in his
position. At this time, Mr. Short stated that the general management's belief was that the black
employees were not skilled enough to be in leadership. lronically the same general manager that
was in Oklahoma City, where there were no black individuals in management, which was my basis
for my transfer to the Texas Lewisville Waste Management facility, was now being transferred also
to the Lewisville location and after being in his position for quite a while Mr. Henry Short was being
demoted

June 19, 2013 1 was temporarily disqualified from working and taken out of service by the company
doctor at the Concentra medical facility. The company doctor requested medical information from
my treating physician in addition to a letter from physician stating the effects of the medication | was
taking and whether or not it would affect my ability to drive. The requests from the company doctor
were based upon referencing to DOT regulations.
 

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June 27, 2013 Mark Johnson the new roll off supervisor; returns my phone call after | left him several
messages trying to contact him regarding this decision.

June 27, 2013 AT 3:33 PM | receive a voicemail from HR Renée Helms; whom | contacted out of
frustration that my current supervisor, Mark Johnson, would not a response to my calls regarding my

job status. After Ms. Helm's left the above message, | received a call from Mr. Johnson at 4:47 PM
that same day.

June 28, 2013 1 received the medical letter from my treating physician stated that if taken as directed
the medication would not affect my workability nor affect any driving. This was then submitted to
the WM company doctor for their review. After the WM doctor reviewed my attending doctors
letter, | was given a clean bill of health and acknowledges that | am able and cleared to return back
to work. Ironically | receive a letter in the mail the same day stating that | had applied for short term
disability. This was not correct as | never applied for any type of assistance, someone from the
company took it upon themselves to apply for me. | also received another letter the same day, from
company division called TOPS, informing me | was ineligible for FMLA, due to my length of service; |
did not qualify. The HR department keeps insisting that | pursue avenues to stay off work instead of
allowing me to return back to duty with accommodations that were already in the motion of being
arranged for me by my previous supervisor Henry Short

June 28, 2013 This was my first meeting with Mark Johnson and his immediate supervisor Lance
Butler. This meeting was to discuss what accommodations | would need and cover the medical
information that was provided along with back payment of wages for the time | been out. In addition
to a confirmed date when | could return to work. During this meeting, Mark Johnson begins making
discriminating statements regarding my age and race. Mr. Johnson stated that | am too old to work
and do this job. Lance Butler informs me that they are creating some new shifts that would begin at
10 AM and work a mid-day shift. Mr. Butler also made race discriminating statements at this time;

he stated that he could care less whether | worked there or quit and went to go pick cotton | just
needed to make a decision.

July 1, 2013 1 filed a complaint with OSHA Texas Department of insurance; spoke with investigator
Dale Grace in reference to company not fixing the speedometer in my equipment after making several
requests, equipment leaking heavy amounts of oil, overly large cracks in cab roof, upholstery torn and
foam exposed and stayed moist from rain leakage in cab roof. Also reported being forced to work
hours that were excessive and employees were violating DOT log rule regulations. In Oklahoma we
kept driver logs, in Texas we were told not to document them or keep them.

Jul y 01, 2013 in phone conversation with Mark Johnson; he tells me that since | was considering a
residential driver that my pay rate would be reduced this was the first time anyone had mention
taking away my pay. In fact, | was previously informed that my experience would be more valued

and maintain my same pay for | can always assist in the other departments in the event of emergency
or shortage of man power.
 

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July 9, 2013 email to Mark Johnson requesting information and company documentation from policy
or handbooks that justified why my pay had to be reduced.

July 9, 2013 email to HR recruiter Jamie Rowan; requesting her assistance for me to get back to work

July 10, 2013 email to HR Jamie Rowan; requesting that she contact Mark Johnson on my behalf; |
was having difficulty getting him to respond back to my email from July 9, 2013.

July 10, 2013 phone conversation with Mark Johnson informing me that a meeting is set up that | will
need to attend. The meeting would be on July 11, 2013 at 11 AM. | would be meeting with roll off
supervisor Mark Johnson; his chain of command superiors who were Lance Butler; Walter Roberts,
HR representative Louis Ramirez and the General Manager. Mark inquires if | have sought out being
on FMLA or disability. Mark again makes comments in reference to my age and if | was too old to not
be able to do the work.

July 10, 2013 email to Mark Johnson; | made a request in the email that our meeting be recorded,
videoed, or | was asking could | myself record or video and even bring and individual to be present
as witness with me. | stated since we were not union and | was meeting with four individuals that
were of the company leadership | wanted documentation of the meeting. Mark Johnson never
responded to my request.

July 11, 2013 met with Mark Johnson, Lance Butler, Walter Roberts, and Louis Ramirez (General
Manager was not present) meeting was to begin at 11 AM but did not actually began until 1 pm. Due
to not receiving a response from Mark Johnson, | brought equipment with me to video and record
the meeting in addition to bringing an individual to sit in with me. The administration of waste
management that was part of the meeting would not allow me to set up my equipment nor allow the
individual that was with me to enter into the room. The contents of the meeting were to establish
what | needed in reference to accommodations and when | was coming back to work. Mark Johnson,
again make statements regarding my age and if | was too old to do the work. Lance Butler commented
| heard already what his opinion was. (He was referencing that | could go pick cotton). In the matter
of taking a position that would substantially reduce my pay | declined that option and stated | would
remain as a roll off driver. | stated | would need to confirm that my work hours would be an 8-9-hour
day. | also brought up the matter of needing a truck with an automatic transmission. Mark Johnson
and the administrative individual refused to answer questions to my work hours, Mark's only
comment was that my work day would be as to whatever and if | could not complete what they
considered would be my workday | would be considered as being insubordinate | consistently asked
how many hours after 8 to 9 hours are we speaking about | never got a confirm answer. The
administrative staff; in the meeting made an attempt to keep using safety as a reason for why my
status of not returning to work | pointed out to them | do not understand how they could speak about
safety and then ignore all the issues of safety that | had reported to OSHA. (Waste Management took
 

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full advantage of my solo status and lied about the events that took place in the meeting and deceive
everyone outside of the meeting with false information)
July 11, 2013 1 sent an email to Mark Johnson and carbon copied the administrative members | had
met with. The email was confirming that | did not accept the reduction in pay as they were offering
and would remain in my current position. | also attached the safety concerns that | had in reference
to the equipment | was driving, not willing to comply to fix the speedometer, and not keeping logs
for working excessive hours.

July 15, 2013 1 receive a letter from HR representative René Helms the letter was the position and
the reduction of pay that | had already informed them that | was declining because | could not
understand why my pay was being we reduced. This letter was an attempt to try to show in a
strategic manner that waste management was trying to accommodate me but in reality it was
retaliation and punishment.

July 17, 2013 1 email Mark Johnson requesting a response for confirmation of the work equipment
that | would use being a truck with an automatic transmission.

July 17, 2013 | am left a voicemail call from Louis Ramirez, we had been on the phone for several
minutes which | was led to believe he was working positively to assist myself in returning back to
work during our phone conversation it was confirmed to me that | would be driving an automatic

transmission truck and my hours would be 4:30 am -1pm and possibly the 10am midday shift that
Lance Butler spoke about.

July 18, 2013 1 receive voicemail call message from HR Louis Ramirez; instructing me not to show
up on 7/19/2013 but instead report on 7/22/2013 and he would get with me later with the
information details that we had discussed.

July 19, 2013 1 email Louis Ramirez requesting information when | could return to work and trying
to address my back pay for the time | have been off.

July 20, 2013 1 receive email from Louis Ramirez very late in the evening on a Saturday which was
out of the ordinary of how we had been communicating. Louis Ramirez sent this email with
instructions and information that we never discussed everything in the email was negative to what
we had agreed. Louis Ramirez sent this email very late with intent that | did not get it in time and
would not show and he also knew he had no responsibility to respond back to me if | had questions

for it was late Saturday and surely no business for waste management would be conducted by the
administration on a Sunday.

July 20, 2013 1 email Louis Ramirez approximately 9pm that Saturday night, responding to the email
he had just sent hours or so ago.

July 22, 2013 1 showed up to work at the waste management facility in Lewisville, Texas reporting to
work for Mark Johnson at 4:15am there was no truck for me to drive, no work phone that is usually
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supplied, no tablet that is needed for work to perform the duties, and Mark Johnson would not
acknowledge that | was there or come see me, yet Mark new to expect me that Monday morning. In
fact, Mark avoided me and sent an employee/individual of the company to inform me that he got
busy and would have to get with me later. | waited for Mark | searched in the areas that | was
authorized to be in and since | could not locate him as we have always done | left him a note that |
was there and | would be waiting sitting outside in my vehicle because that early in the morning very
few people are there and it was very awkward to be sitting around in an empty office. | went back
inside the building for | waited nearly 3 hours still Mark was not being found another working group
with coming in | made a search for Mark since he could not be located he had my note he could call
me and | left and went home

From transcripts from Unemployment hearing, Mr. Johnson acknowledges that he had made no
preparation for me to come to work. And in choosing his words carefully before the commission
hearing officer, instead of saying | was too old, he states He thought | was trying to get out of work
or trying to dodge work per say.

Following the company policy, | continue to call TOPS and keep them updated as to my current status.
| felt | had made every effort possible at that point wasn't sure what else more | could do until my
employer was ready to accept my accommodation request.

July 26, 2013 1 receive a letter in reference to short-term disability.

August 9, 2013 1 receive a letter from Waste Management TOPS requesting information from me to be
considered for Serious Health Condition Administrative leave, which | did not qualify for; my condition was
just consumption of medication.

August 23, 2013 1 received letter in reference to short-term disability

August 26, 2013 | file for unemployment due to the fact | am not receiving any income. Through transcripts
and investigation done by the Oklahoma unemployment commission | discover that Waste Management gave
false information to the Oklahoma unemployment commission; gave false testimony of my efforts to retain
my job.

Civil rights violations

Race Discrimination: experiencing while in Oklahoma several racial comments and slurs; while in
Texas, Lance Butler stating that for employment | could choose to go pick cotton.

Disability Discrimination: | am not a doctor but the company of Waste Management uses their own
interpretation to classify me as being disabled; and treated the condition as such and discriminated
against me in a manner that cost me from being gainfully employed. In the minor of the condition
Waste Management surely failed to accommodate any logical request that | made. My employer had
pre-knowledge of my condition when hiring me on 5/27/2012 approximately a full year before any
of the occurrences took place.
 

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Retaliation: wrongful or constructive termination, alleging |! quit, false statement to Oklahoma
unemployment commission as to where my benefits were denied. Retaliation also based upon filing
a complaint with OSHA of safety issues with both equipment and DOT protocol. Retaliation for filing
and EEOC charge. Retaliation by reducing my wages as a punishment and to falsely represent that
HR was making an effort to just pretend to accommodate.

Age Discrimination: Mark Johnson made several verbal comments referring to my age. Stating that |
was too old to perform my work. Asking me, was | too old to do the job. Suggesting | find another
line of work due to my age. Insinuating | was trying to get out of work daily due to my age.

DOT Regulations

382.213 Controlled Substance Use: No driver shall report to work, or show work in a safety —
sensitive function, if that driver uses any controlled substance. The only exception to this would be
if a physician prescribes any medication containing a controlled substance and the physician advises
you that the substance will not adversely affect your ability to operate a commercial motor vehicle.
Your employer has the right to require you to report the use of any therapeutic drug

392.3 Ill or Fatigued Operator: No driver shall operate a commercial motor vehicle, and a motor
carrier shall not require or permit a driver to operate a commercial motor vehicle, while the driver's
ability or alertness is so impaired, or so likely to become impaired, through fatigue, illness, or any
other cause, as to make it unsafe for him/her to begin or continue to operate a commercial motor
vehicle. However, a case of grave emergency where the hazard to occupants of the commercial
motor vehicle or other users of the highway would be increase by compliance with this section the
driver may continue to operate the commercial motor vehicle to the nearest place at which that
hazard is removed.

392.3 Ill or Fatigued Operator

Question 1: what protection is afforded a driver for refusing to violate the federal motor carrier safe
regulations?

Guidance: section 405 of the Surface Transportation Assistance Act of 1982(STAA) (49 U.S.C. 31 105)
they, in part, that no person shall discharge, discipline, or in any manner discriminate against an
employee with respect to the employee's compensation, terms, conditions, or privileges of
employment for refusing to operate a vehicle when such operation constitutes a violation of any
federal rule, regulation, standard, or order applicable to employment Commercial Motor
Vehicle(CMV) safety. In such a case, a driver may submit a signed complaint to the Occupational
Safety and Health Administration (OSHA).
 

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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other, paper:

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provided by local rules of court. This form, approved by the Judicial Conference of the United States i eptember 1974, i a ‘th me
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM) _ T 1974, is required for the use qfthe obec

 

 

 

L (a) PLAINTIFFS DEFENDANTS
ANDRE W. WILLIAMS SR.

 
 
 

COURT |
Fear

 

 

 

  

Louis Ramirez;Lance Butler;Mark Johnson

County of Residence of First Listed Defendant _Denton
(IN U.S. PLAINTIFF CASES ONLY)
NOTE: Nae CONDEMNATION CASES, USE THE LOCATION OF

CLE S. o
Waste Management Inc. NORTHERN DISTRICT

(b) County of Residence of First Listed Plaintiff DALLAS
(EXCEPT IN U.S. PLAINTIFF CASES)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
        

 

 

TRACT OF LAND INVOLVED.
(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)
3-16CV-2943L
Il. BASIS OF JURISDICTION (Place an “X” in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
1 US. Government 2% 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 1. 0 1. Incorporated or Principal Place o4 04
of Business In This State
2 US. Government 4 Diversity Citizen of Another State C12 © 2 Incorporated andPrincipal Place 8 5 OS
Defendant (Indicate Citizenship of Parties in Item Il) of Business In Another State
Citizen or Subject of a Oo 3 © 3 Foreign Nation o6 6
Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
t CONTRACT TORTS FORFEFLU RE/PENALTY. BANKRUPTCY. OTHER STAT U TES ]
© 110 Insurance PERSONAL INJURY PERSONAL INJURY |( 625 Drug Related Seizure 1) 422 Appeal 28 USC 158 O 375 False Claims Act
© 120 Marine © 310 Airplane 0 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal () 376 Qui Tam (31 USC
( 130 Miller Act (3 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a))
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(1 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS © 410 Antitrust
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190 Other Contract Product Liability (J 380 Other Personal Relations C1) 864 SSID Title XVI Exchange .
(1 195 Contract Product Liability | 360 Other Personal Property Damage {} 740 Railway Labor Act (0 865 RSI (405(g)) 390 Other Statutory Actions
(1) 196 Franchise Injury () 385 Property Damage (0 751 Family and Medical © 891 Agricultural Acts
0 362 Personal Injury - Product Liability Leave Act (9 893 Environmental Matters
Medical Malpractice (1 790 Other Labor Litigati 8 895 Freedom of Information
REAL PROPERTY. Civit, RIGHTS PRISONER PETITIONS |0) 791 Employee Retirement  [7_ FEDERAL TAX SUITS __| Act
0 210 Land Condemnation O 440 Other Civil Rights Habeas Corpus: Income Security Act (7 870 Taxes (U.S. Plaintiff 1 896 Arbitration ;
(3 220 Foreclosure O 441 Voting C1 463 Alien Detainee or Defendant) a 399 Administrative Procedure
230 Rent Lease & Ejectment 2% 442 Employment 0) 510 Motions to Vacate 0 871 IRS—Third Party Act/Review or Appeal of
(1 240 Torts to Land (3 443 Housing/ Sentence 26 USC 7609 Agency Decision
(1 245 Tort Product Liability Accommodations | 530 General [} 950 Constitutionality of
=] 290 All Other Real Properry | 1 445 Amer. w/Disabilities -]() 535 Death Penalty “TI MMIGRATION State Statutes
Employment Other: C1 462 Naturalization Application
C1 446 Amer. w/Disabilities - | 540 Mandamus & Other (1 465 Other Immigration
Other CO 550 Civil Rights Actions
CO 448 Education 0 555 Prison Condition
G 560 Civil Detainee -
Conditions of
Confinement
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Proceeding State Court Appellate Court pe: Another District Trassfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION Title vii, Americans With Disabilities Act, Age Discrimination in Employment Ae
1. Brief deserint Bap ie Aciomoeat eT Proper’
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employer « discriminated againest me based on race, Ge! disability, retaliation,constructive fraud, constructive termir
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COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: WYes No
VIII. RELATED CASE(S) (se )
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FOR OFFICE USE O = 7

RECEIPT # AMOUNT APPLYING IFP _ JUDGE MAG. JUDGE

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